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                                            APPENDIX A:

                DESCRIPTIONS OF CASES WITH JUDICIAL DECISIONS1

Johnson & Johnson v. ev3, Inc.

        The ev3 case involved plaintiffs Johnson & Johnson (“J&J”) and its wholly owned
subsidiary operating company Cordis Corporation (“Cordis”). Cordis was the former employer
of the defendants, three sales representatives (Barr, Fitzpatrick, and McKeever) who defected to
a direct competitor of Cordis in the endovascular stent market. ev3 Complaint (Dkt. 15-6), ¶ 1.
Each of the individual defendants had executed an employment agreement with Cordis similar to
those at issue in this case. The complaint alleged that the individual defendants’ employment
with ev3 breached their respective employment agreements (First Count) and their independent
duty of loyalty (Second Count). Id. ¶¶ 66-72. The plaintiffs sought and obtained a TRO, the
only decision in the case that could have conceivably resulted in judicial estoppel here (the
parties later settled).

       The patent assignment provisions of the individual defendants’ agreements were neither
relevant to the case nor mentioned in the TRO. The TRO enjoined the individual defendants
from disclosing “any of plaintiffs’ confidential, proprietary and trade secret information as
defined in their respective non-compete agreements.” See Order to Show Cause with Temporary
Restraints and for Accelerated Discovery (“ev3 TRO”) (Ex. 1), at 5. It did not specify on what
grounds it was granting relief. See id. at 2 (reciting allegations concerning “violation of the
Agreements and common law”). Plaintiffs’ brief in support of the TRO sought relief both for
breach of the defendants’ employment agreements and under the common law. See ev3 Brief in
Support of Plaintiffs’ Application for a Temporary Restraining Order and Accelerated Discovery
(Dkt. 15-7), at 10 (“Courts also will restrict a former employee’s activities on his new
employer’s behalf, even in the absence of a non-compete agreement.”).

Johnson & Johnson v. Invatec, LLC

        In the Invatec case, plaintiffs J&J and Cordis sued several Cordis sales representatives
who were planning a simultaneous mass exodus to work for Invatec, LLC, a direct competitor of
Cordis in the stent market. Invatec Complaint (Ex. 2), ¶¶ 2-3. Defendant Hardage, the
ringleader, was alleged to have recruited fellow sales representatives from the inside to Invatec.
Id. ¶ 3. Each of the defendants had an employee agreement of varying forms; all but Hardage’s
and Bates’s were similar to those issue in this case (defining the term COMPANY comparably).
Id. Exs. B-C, E-F.2


1
 Not described are three cases in which no judicial decision was reached and the fourth Ethicon, Inc. v.
Angelini, where the employment agreement at issue was not of the same form as those at issue in this
case. See the chart at the end of this appendix.
2
  Hardage’s and Bates’s were different; they did not use the term COMPANY at all. Rather, they used
the term CORDIS or JOHNSON, defined to mean “Cordis Corporation [or Johnson & Johnson], its
successors or assigns, and any of their existing and future divisions or subsidiaries.” Invatec Complaint
Ex. A, D.
                                                 Appx. 1

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       The Invatec complaint treated the agreements identically, asserting two claims against the
individual defendants: breach of their employment agreements (First Count), and breach of their
“duty of loyalty that existed independent of their respective non-compete agreement to refrain
from disclosing Confidential Information that they learned while employed by Cordis” (Second
Count). Id. ¶¶ 66-74. The Confidential Information described in the complaint – such as product
development and launch plans, sales and pricing plans, and customer information – related to
Cordis. See id. ¶ 43.

        The plaintiffs obtained a TRO.3 Order to Show Cause with Temporary Restraints and for
Accelerated Discovery (“Invatec TRO”) (Ex. 3), at 6-8. The TRO enjoined the various
individual defendants in different ways, ostensibly tailored to the nature of the confidential
information they had obtained as a result of their employment with Cordis. For example, it
temporarily enjoined defendants Hardage and Barringhaus from working at Invatec in both
cardiovascular and endovascular product fields, while it enjoined defendants Bates and Liguori
from working at Invatec only in the endovascular field. See id. at 6. In the TRO, the individual
defendants were also enjoined from working in any position that “would place them in a position
of using or disclosing plaintiffs’ Confidential Information,” defined in the TRO as “plaintiffs’
confidential, proprietary, and trade secret information . . . concerning, among other things,
plaintiffs’ customer relationships and information, pricing information and strategies, pipeline
products, sales force plans, marketing and sales plans and business strategies.” Id. at 1, 6. And,
it prohibited all the individual defendants (for different periods of time) from soliciting any
business from accounts, customers, or clients with whom they had contact during their last year
of employment at Cordis. Id. at 7.

        The patent assignment provisions of the individual defendants’ agreements were neither
relevant to the case nor mentioned in the TRO. The TRO does not expressly refer to any of the
individual defendants’ employment agreements. The TRO is also silent as to the basis on which
the relief was granted. In their brief requesting the TRO, plaintiffs pressed both their breach of
contract and breach of common law duty of loyalty claims. See Invatec Brief in Support of
Plaintiffs’ Application for a Temporary Restraining Order and Accelerated Discovery (Ex. 4), at
10-23.

Johnson & Johnson v. Stentys, Inc.

       J&J together with Cordis brought the Stentys case against a former Cordis-employed
engineer, Jin Park, and his then-current employer Stentys. Stentys Complaint (Dkt. 15-8), ¶ 4.
As mentioned above, Cordis was in the business of developing, among other things,
cardiovascular and endovascular stents. Stentys was a direct competitor, developing a stent at
the time to compete with one of Cordis’s major products. Id. ¶¶ 27-28. Park was involved in the
research and development of numerous stent projects; indeed, he is a named inventor on about a
dozen Cordis-assigned patents. See, e.g., Dkt. No. 26-3 (Martison Dep. Ex. 21).4


3
  The case settled about a month later, in connection with which the Invatec court issued a Consent Order
referring to the settlement agreement.
4
 It bears noting that the Stentys complaint inaccurately states that “[p]ursuant to Paragraph 1 of the
Agreement, plaintiffs own all inventions, patentable or not, developed by Park while at plaintiffs.”
                                                  Appx. 2

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        In connection with his employment at Cordis, Park signed an employment agreement of
similar form to those at issue in this case. Stentys Complaint Ex. A. In the Stentys complaint,
plaintiffs alleged that Park’s working for Stentys breached his employment agreement (First
Count) and breached his “duty of loyalty that existed independent of his Agreement to refrain
from disclosing Confidential Information that he learned while employed by Cordis” (Second
Count). Id. ¶¶ 41-47.

        The plaintiffs obtained a TRO.5 Order to Show Cause with Temporary Restraints and for
Accelerated Discovery (“Stentys TRO”) (Ex. 5), at 6-7. The TRO enjoined Park from working
for Stentys in any position involving certain types of stents “or any other position that would
place him in a position of disclosing plaintiffs’ Confidential Information” and prohibited him
from disclosing “plaintiffs’ Confidential Information as defined in Park’s Agreement.” Id. at 6.

       The patent assignment provision of Park’s agreement, though referenced in the
complaint, is not mentioned in the TRO. The TRO does not state, expressly or implicitly,
whether the basis for relief was the alleged breach of employment agreement or the alleged
breach of the duty of loyalty, both of which were pressed in plaintiffs’ application for the TRO.
See Stentys Brief in Support of Plaintiffs’ Application for a Temporary Restraining Order and
Accelerated Discovery (Ex. 6), at 5-17.

Johnson & Johnson v. Biomet, Inc. (“McAllister”)

        The Biomet case involved former DePuy Spine employee Steven F. McAllister, who was
the Director of Finance for the DePuy Franchise (consisting of DePuy, Inc. and its subsidiary
operating companies: DePuy Orthopaedics, DePuy Spine, DePuy Mitek, and Codman &
Shurtleff). McAllister Complaint (Dkt. 16-14), ¶¶ 2, 5. The plaintiffs were J&J, DePuy, and
DePuy Spine, McCallister’s direct employer. As a result of his employment as the Director of
Finance of the whole DePuy Franchise, “McAllister was called upon to evaluate and review
confidential, proprietary and trade secret information (collective ‘Confidential Information’)
relating to Operations for all four of the DePuy Franchise’s companies, including [plaintiff and
former employer] DePuy Spine and [non-party] DePuy Orthopaedics.” Id. ¶ 23.

        DePuy is in the business of medical devices, and its operating companies develop, among
other things, spinal implants, hip and knee implants, surgery medical devices for sports
medicine, and neurological devices. McAllister left the DePuy Franchise for a company alleged
to compete directly with DePuy Spine and DePuy Orthopaedics. Id. ¶ 35. Plaintiffs’ complaint
alleged claims of breach of McAllister’s employment agreement with DePuy Spine (First Count)
and breach of duty of loyalty (Second Count) against McAllister, concerned about disclosure of
Confidential Information. Id. ¶¶ 51-58.

Stentys Complaint ¶ 25. But all patents on which Park is named as an inventor were assigned on their
face to Cordis alone, consistent with the facts in this case. Paragraph 1 of Park’s employment agreement
(the patent assignment provision) was not discussed by the Stentys court; no interpretation of Paragraph 1
was adopted or accepted by the court; and no relief was sought or obtained regarding that provision of the
Agreement.
5
 The case settled very soon thereafter, followed by a Consent Order referencing the settlement
agreement.
                                                Appx. 3

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        The case settled quickly, prior to any merits decision in the case. In connection with the
settlement, the court issued a Consent Decree referencing the settlement agreement. The
Consent Decree prohibited McAllister from using or disclosing “DePuy’s Confidential
Information as defined by” his employment agreement, but it contained no discussion about the
meaning of CONFIDENTIAL INFORMATION in the agreement. McAllister Consent Decree
(Ex. 7), ¶ 4.6 The Consent Decree is also completely silent as to whether it was premised on the
breach of contract claim, the breach of duty of loyalty claim, or the terms of the settlement
agreement standing alone. Accordingly, the Consent Decree in the McAllister case cannot be the
basis for any judicial estoppel in this case.

Johnson & Johnson v. Biomet, Inc. (“Barney”)

        In the Barney case, the individual defendant, Robin Barney, was a high-level executive
within the DePuy Franchise who resigned from her employment to work at Biomet, a direct
competitor of DePuy (as discussed above with respect to the McAllister case). Barney
Complaint (Ex. 15-14), ¶¶ 4, 34. Barney was employed by DePuy Products (one of the
plaintiffs), and held the position of Vice President Worldwide Operations of DePuy
Orthopaedics (a co-plaintiff). Id. ¶ 4. As a result of her employment, Barney obtained the
confidential information of all the companies within DePuy Franchise (in particular in
connection with her role as a member of the DePuy Global Management Board), as well as
broader J&J confidential information (in connection with chairing J&J’s Medical Device and
Diagnostics Operations Council and her service on J&J’s Worldwide Operations Council). See
id. ¶¶ 23, 25-29. The three plaintiffs, DePuy Products, DePuy Orthopaedics, and J&J, alleged
that Barney breached her employment agreement (First Count) – which was of a similar form to
those at issue in this case – and that Barney breached her “duty of loyalty that existed
independent of her Agreement to refrain from disclosing confidential information and trade
secrets that Barney learned while employed by plaintiffs” (Second Count). Id. ¶¶ 46-52.

        The plaintiffs sought and obtained both a TRO and a PI, the latter of which the court
explained in a lengthy letter opinion. See Barney TRO and Letter Opinion (Case No. 15-cv-
10698, Dkt. 508-4). In the Letter Opinion, the court quoted the definitions of CONFIDENTIAL
INFORMATION, CONFLICTING PRODUCT, and CONFLICTING ORGANIZATION, as
well as paragraphs 5-7, of Barney’s agreement. Id. (Letter Opinion), at 5-8. Notably, however,
nowhere in the 21 pages of its ruling did the court quote, cite, or discuss the definition of the
term COMPANY. The court found that Barney “had access to significant amounts of
confidential and proprietary information belonging to J&J/DePuy as part of her work for the
DePuy franchise,” stating stated that this was “the type of confidential business information that
is appropriately subject to protection, with or without a covenant not to compete.” Id. (Letter
Opinion), at 11-12 (emphasis added) (citing Whitmyer Bros., Inc. v. Doyle, 58 N.J. 25, 33
(1971)). It did not explain whether it was relying on the agreement or the employee’s common
law duties in granting plaintiffs injunctive relief. Id. (Letter Opinion), at 17.



6
 The Consent Decree, by collectively referring to the four DePuy Franchise entities as “DePuy” in
paragraph 2, is ambiguous as to what paragraph 4 meant by referring to “DePuy’s Confidential
Information, as defined by [McAllister’s Agreement] that he executed with DePuy Spine, Inc.”
                                               Appx. 4

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         The patent assignment provision of Barney’s agreement was neither relevant to the case
nor discussed in the PI. That PI’s specific holding was to continue the restraints in the TRO
which the court had tailored to be “as fair and focused as possible,” id. (Letter Opinion) at 21,
and the TRO itself did not state on which ground (contract or common law) relief was granted,
nor did it quote, cite, or discuss the meaning of COMPANY or the patent-assignment provisions,
see id. (TRO), ¶ 6.

LifeScan, Inc. v. O’Connell

         In the LifeScan case, the defendant O’Connell left LifeScan to work for a competitor,
AgaMatrix. The plaintiffs in the lawsuit were 1) Diabetes Diagnostics, Inc. (“DDI”), the
successor-in-interest to O’Connell’s first employer, SelfCare, Inc., 2) LifeScan, Inc.
(“LifeScan”), O’Connell’s last employer, and 3) Inverness Medical Ltd. (“Inverness”), an
affiliate with whom O’Connell worked directly and to whose Director of Business and Product
Management O’Connell reported. LifeScan Complaint (Dkt. 15-5) ¶¶ 2, 4-6, 18. All three
plaintiffs were in the business of developing and manufacturing blood glucose monitoring
products and related products for the treatment of diabetes. Id. ¶ 2.

         The lawsuit alleged that by working for AgaMatrix O’Connell breached his employment
agreement with SelfCare (Count I), breached his employment agreement with LifeScan (Count
II), and violated Massachusetts’s trade secret statute (Count III). Id. ¶¶ 26-46. Only the
LifeScan agreement is in the form of the agreements at issue in this case; the SelfCare agreement
is different. Id. Exs. A, B. The court’s only merits decision, a temporary restraining order
(“TRO”), stated, in relevant part:

                Defendant [O’Connell], his agents, servants, attorneys, and persons
                in active concert or participation with him, are temporarily
                restrained from: (i) working for or providing any services to
                defendant [AgaMatrix]; (ii) using or otherwise disclosing to
                AgaMatrix, or any other person or entity, plaintiffs’ trade secrets
                and other proprietary and confidential information.

LifeScan TRO (Ex. 8) ¶ 1.

        The patent assignment provision of the LifeScan agreement was neither discussed in the
case nor relevant to the decision. The TRO does not even mention the LifeScan agreement or the
definition of COMPANY. Nor does it identify on which of plaintiffs’ claims the relief was
granted.

DePuy Spine, Inc. v. Stryker Biotech L.L.C.

        In the Stryker case, G. Joseph Ross, a Vice President of New Business Development for
plaintiff DePuy Spine, Inc. (“DePuy Spine”), defected to work at defendant Stryker Biotech
L.L.C. (“Stryker”), a competitor in bone graft business. Stryker Complaint (Dkt. 15-4), ¶¶ 23-
24, 26. DePuy Spine sued together with Johnson & Johnson Regenerative Therapeutics, LLC
(“JJRT”), which performs research and development for DePuy Spine, including the
development of bone graft products. Id. ¶ 14. Both plaintiffs are part of the J&J family of

                                              Appx. 5

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companies. The complaint asserted claims against Ross for breach of his employment agreement
(Count I), misappropriation of trade secrets and confidential information under Massachusetts
statutes (Count IV), and breach of the common law duty of loyalty (Count V). Id. ¶¶ 31-37, 48-
56.

        The Stryker court, in a written decision, granted a preliminary injunction based on Ross’s
employment agreement, which was similar in form to two of the four at issue in this case.
Stryker Memorandum and Order on Request for Preliminary Injunction (Ex. 10). The decision
quotes the non-compete and non-solicitation clauses of ¶¶ 6-7 of the agreement, as well as the
definition of CONFLICTING ORGANIZATION and CONFLICTING PRODUCT, and asks the
questions “whether Stryker Biotech is a CONFLICTING ORGANIZATION, as that term is used
in the agreement, and, if so, whether any CONFLICTING PRODUCT will be involved if Ross
assumes his new position with Stryker Biotech.” Id. at 2-3.

        In answering this question, the decision focused exclusively on Ross’s employer, DePuy
Spine, and the overlap with Stryker with respect to their bone graft lines of business. And the
court’s order, in relevant part, enjoined Ross from disclosing “any confidential DePuy Spine
information, including any confidential information regarding any DePuy Spine products, either
in existence or in development, its distribution network, or its business plan.” Id. at 7. The order
portion of the opinion does not mention co-plaintiff JJRT, nor does it state that JJRT, or any
other J&J affiliate, is within the definition of COMPANY in Ross’s agreement. To the extent
that plaintiffs in the Stryker case were advocating such a position, it was not adopted by the court
insofar as its order was limited to DePuy Spine’s confidential information. Furthermore, the
patent assignment provision of Ross’s agreement was neither discussed in the case nor relevant
to the decision.




                                             Appx. 6

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           Case Name                   Plaintiffs                 Court                Case Number            Any Judicial
                                                                                                               Decisions?
Codman & Shurtleff, Inc. et     J&J                        Superior Court Of        Docket No. C-65-12   No
al. v. Peters                   Codman & Shurtleff, Inc.   New Jersey Middlesex
                                                           County Chancery
                                                           Division
Johnson & Johnson v. ev3,       J&J                        United States District   09-CV-06306-GEB-     Yes
Inc.                            Cordis Corp.               Court For The District   DEA
                                                           Of New Jersey
Cordis Corp. v. Invatec, LLC    J&J                        Circuit Court 11th       08-46947CA02         No
                                Cordis Corp.               Judicial Circuit Miami
                                                           Dade County Florida
Cordis Corp. v. Invatec, LLC    J&J                        Superior Court Of        C-171-08             Yes
                                Cordis Corp.               New Jersey Chancery
                                                           Division Middlesex
                                                           County
Johnson & Johnson v. Stentys, J&J                          Superior Court Of        MID-C-141-08         Yes
Inc.                          Cordis Corp.                 New Jersey Chancery
                                                           Division Middlesex
                                                           County
Ethicon, Inc. v. Angelini       Ethicon                    United States District   3:16-CV-1124-J-39-   Yes
                                DePuy Orthopaedics, Inc.   Court Middle District    PDB
                                                           Of Florida
                                                           Jacksonville Division
Johnson & Johnson v. Biomet     J&J                        Superior Court Of        C-227-07             Yes
Inc. (“McAllister”)             DePuy, Inc.                New Jersey Chancery
                                DePuy Spine, Inc.          Division Middlesex
                                                           County




                                                            Appx. 7

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Johnson & Johnson v. Biomet, J&J                          Superior Court Of     C-107-07 (App Div   Yes
Inc. (“Barney”)              DePuy Ortopaedics, Inc.      New Jersey Middlesex Am-216-07)
                             DePuy Products, Inc.         County Chancery
                                                          Division
Lifescan, Inc. v. O’Connell    LifeScan, Inc.             Commonwealth Of       200402043           Yes
                               Diabetes Diagnostics, Inc. Massachusetts
                               Inverness Medical, Ltd.
McNeil v. Pharmacia &          J&J                        Superior Court Of     HNT-C-14003-01      No
Chester                        McNeil Consumer            New Jersey Chancery
                               Healthcare (formerly       Division Hunterdon
                               McNeil Consumer            County
                               Products Co., a division
                               of McNeil-PPC Inc.)
Depuy Spine, Inc. v. Stryker   DePuy Spine, Inc.          Commonwealth Of       07-1464             Yes
Biotech LLC                    Johnson & Johnson          Massachusetts Suffolk
                               Regenerative               Superior Court
                               Therapeutics, LLC




                                                          Appx. 8

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